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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

O. JOHN BENISEK, et al., *
*
Plaintiffs,
*
v. CIVIL NO. JKB-13-3233
*
LINDA H. LAMONE, et al., *
Defendants. *
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ORDER

Now pending before this Three Judge Coi.u't is Plaintiffs’ Consent Motion to Hold All
Matters Relating to Taxation of Fees and Costs in Abeyance Pending Outcome of Appeal (ECF
No. 229).

Upon consideration of the Motion and of the Court’s Order granting a stay (ECF No. 230)
of the Judgment (ECF No. 223), the Motion is GRANTED IN PART. All proceedings on taxation
of attorneys’ fees and costs shall be held in abeyance until the United States Supreme Court decides
the appeal of this case or until the passage of the date of July 1, 2019, Whichever first occurs. Upon
expiration of the stay, counsel shall jointly and immediately move to set in a status conference,
and this Court will set a new initial filing deadline for the motion for fees and bill of costs.

So ORDERED this g day of November, 2018.

For the Three Judge Court:

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Honorable J ames K. Bredar
Chief Judge

